                          Case 7:20-cv-03267-CS Document 9 Filed 08/19/20 Page 1 of 1

     A0 399 (01/09) Waiver ol the Service of Summons


                                                     IJwrrEo Srarss Drsrnrcr Counr
                                                                                 for the
                                                               Southem District of New York

Nicholas Mangone, Jodi Spear,                     individualt-v and on bchalf   of
ul   I othcrs sinriIar!f-.tl!!4!Sd.                                                  )
                                       Plamtt/f                                      )
                                     v.                                              )      Civil Action       No.          7:20-cv-43267-CS
                            Hal's Beverage, LLC,                                     )
                                      Defendanl                                      )

                                                    WAIVER OF THE SERVICE OF SUMMONS
To:           Spencer Sheehan
                     (Nune of the plainliff's atlorney or uwepresented plointffl

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of retuming one signed copy of the form to you.

              I, or the entity I represent, agree to save the expense of serving a surnmons and cornplaint in this case.

         I understand that I. or the entity I represent. will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or tlre entity I represent" must file and serve an answer or a motion under Rule I 2 within
60 days from Aueust 19^ 2020, the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so. a default judgment will be                    or         I represent.


Date:            August 19,2020
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                       Hal's Beverage, LLC                                               Daniel Tyler
          Printed name of parN wanttng service       o;f surumons                                                           Prinled runne


                                                                                         Amin Talati Wasserman. LLP
                                                                                         100 South Wacker Drive. Suite 2000
                                                                                         Chicago, IlIinojs 60606
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                                                                                           dan ie 1@amintalati.com
                                                                                                                           E-mail address

                                                                                           312-784-1061
                                                                                                                       Telephone number

                                             Duty to Avoid tlnnee essery Expenses of Sen ing a Summons
           Rule 4 ofthe Federal Rules ofClivil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserv'ing a summons
 and complaint. A dclendant who is locatcd in the Unitcd States and who lails to return a signed waiver of service reque.sred by a plaintifilocated in
 the United States will be required to pay the expenses ofservice. unless the del'endant shows good cause for the failure.

            "Good cause" does nol include a beliefthat the lau'suit rs groundless. or that         it   has been brought   in an improper venue, or that the court has
 no jurisdiction over this matter or over the defendant or the defendant's properry-.

               lfthe waiver is signed and   returned. you can   still make these and all other   def-enses and ob.jections. but you cannot object to the absence           of
 a summons or       of service   .




            lf you rvaive service. then y'ou rnust. rvithin the time specified on the rvaiver form. serve em answcr or a motion under Rule l2 on the plaintil'l-
 and {lle a copy with the court. By signing and returning the r.r'aiver lbrm, you are allowed more time to respond than if a summons had been served.
